Case 1:21-cr-00222-TFH Document 18-3 Filed 04/20/21 Page 1of1

To whom it may concern in the case of Julian Elie Khater
Dear Sir/Madam,

My name is Maggie Dawoud and { was a coworker of
Julian's at PNC Bank, Somerset, New Jersey from 2015 to
2016.
Julian was the nicest and most conscientious person to
work with. He learned everything in record time and never
missed an opportunity to better himself within our branch.
He was always upbeat and humorous, and whatever he
was tasked with he would accomplish with good grace and
efficiency.
| was shocked to see that the media were portraying him
to be violent or a trouble maker! This is not the Julian |
_ knew and worked with! He was such a quiet and shy
person! He was always polite and courteous to customers
and all who worked with him. As far as I'm concerned,
Julian doesn’t have the mildest inkling of a temper!
| have no doubt that whatever has been leveled against
him is a mistake and my thoughts and prayers are with
him and his family. | would work with Julian again in a
heartbeat!
Thank you for your consideration to Julian and please do
not hesitate to contact me for any further character
reference.

Yours sincerely,
Maggie Dawoud

Maggie Dawoud

 

 
